1
     Damian P. Richard, Esq. (SBN 47837)
2    SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.P.
     1545 Hotel Circle South, Suite 150
3
     San Diego, CA 92108-3426
4    Tel: 619/758-1891
     Fax: 619/296-2013
5
     drichard@sessions.legal
6    Attorney for Transworld Systems, Inc.
7
     Matthew Cheung, Esq. (SBN 43067)
8    PATENAUDE & FELIX, APC
9
     19401 40th Ave W, Ste. 280
     Lynnwood, WA 98036
10   Tel: (425) 361-1662
11
     Fax: 858/836-0318
     mattc@pandf.us
12   In his individual capacity and for
13   Patenaude & Felix, APC
14                          UNITED STATES DISTRICT COURT
15                       WESTERN DISTRICT OF WASHINGTON
16
     ESTHER HOFFMAN; SARAH                     )       Case No.:
17   DOUGLASS; ANTHONY KIM; and IL ))
18   KIM and DARIA KIM, husband and wife)              NOTICE OF REMOVAL OF ACTION
     and the marital community comprised       )       UNDER 28 U.S.C. § 1441(a)
19
     thereof, on behalf of themselves and all ))       [FEDERAL QUESTION]
20   others similarly situated,                )
                                               )
21                                             )
                   Plaintiffs,                 )
22          vs.                                )
                                               )
23                                             )
     TRANSWORLD SYSTEMS                        )
24   INCORPORATED; PATENAUDE AND )
     FELIX, APC; MATTHEW CHEUNG ))
25
     and the marital community comprised of )
26   MATTHEW CHEUNG and JANE DOE )
                                               )
27
     CHEUNG; and DOES ONE THROUGH )
     TEN,                                      )
28                 Defendants.                 )
                                               )


                                          Notice of Removal

                                                   1
1
     TO THE CLERK OF THE ABOVE-ENTITLED COURT:
2
           PLEASE TAKE NOTICE THAT defendants Transworld Systems Inc. (“TSI”),
3
     Patenaude & Felix, APC (“P&F”), and Matthew Cheung (collectively “Defendants”)
4
     hereby jointly remove to this Court the state court action described below.
5
           1.     This action is a civil action of which this Court has original jurisdiction
6
     under 28 U.S.C. § 1331 and is one which may be removed to this Court by Defendants
7
     pursuant to the provisions of 28 U.S.C. § 1441(a) in that it arises under the Fair Debt
8
     Collections Practices Act, 15 U.S.C. § 1692, et. seq.
9
           2.     This action was filed in King County Superior Court and is entitled,
10

11
     Esther Hoffman, et al. v. Transworld Systems Inc., et al. Case No. 18-2-15483-9 SEA

12
     (the “State Court Action”). A copy of the First Amended Complaint (“FAC”), together

13   with the FAC’s Summons, is attached hereto as Exhibit A.
14         2.     Defendant TSI first received notice of the State Court Action on July 27,
15   2018, when TSI’s agent for service of process was served with a copy of the FAC,
16   together with the Summons. Thus, pursuant to 28 U.S.C. § 1446(b), Defendants have
17   timely filed this Notice of Removal.
18         4.     A copy of this Notice of Removal is being served upon Plaintiffs and will
19   be filed in the State Court Action.
20
           5.     The State Court Action is located within the Western District of
21
     Washington. Therefore, venue for purposes of removal is proper because the United
22
     States District Court for the Western District of Washington embraces the place in
23
     which the removed action was pending 28 U.S.C. § 1441(a).
24
           6.     Removal of the State Court Action is therefore proper under 28 U.S.C.
25
     §§ 1441 and 1446.
26
     ///
27
     ///
28
     ///


                                            Notice of Removal

                                                   2
1
     Dated: 8/2/2018   SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.P.
2                      /s/Damian P. Richard
                       Damian P. Richard
3
                       Attorney for Defendant
4                      Transworld Systems Inc.
5

6    Dated: 8/2/2018   PATENAUDE & FELIX, APC
                       /s/Matthew Cheung
7
                       Matthew Cheung
8                      Attorney for Defendants
9
                       Matthew Cheung and
                       Patenaude & Felix, APC
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                          Notice of Removal

                                 3
